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     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-0053-MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO JUNE 19, AT
12           v.                                     )   9:00 A.M.
                                                    )
13   OMAR VERA, JOSE MORALES                        )   Date: June 19, 2014
     CASTELLON, JOSE ANAYA,                         )   Time: 9:00 a.m.
14   EDUARDO REYES,                                 )   Judge: Honorable Morrison C. England, Jr.
                                                    )
15                              Defendant.          )
16
17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for May 22, 2014, at 9:00 a.m., to June 19, 2014, at 9:00 a.m.
19             Defense counsel require the continuance to consult with their clients about discovery, and
20   to conduct investigation. Defense counsel also require further time to meet and consult with
21   each other. In addition, the government will propound proposed plea agreements for the defense
22   to consider.
23             Counsel and the defendants agree that the Court should exclude the time from the date of
24   this order through June 19, 2014, when it computes the time within which trial must commence
25   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
26   ///
27   ///
28

      Stipulation to Continue                           -1-                                       13-53 MCE
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1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: May 22, 2014                            HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Mr. Vera
8
9    DATED: May 22, 2014
10
                                                    /s/ M.Petrik for_______
11                                                  KYLE RODGER KNAPP
                                                    Attorney for Mr. Castellon
12
13   DATED: May 22, 2014
14
                                                    /s/ M.Petrik for_______
15                                                  MICHAEL E. HANSEN
                                                    Attorney for Mr. Anaya
16
17   DATED: May 22, 2014
18
                                                    /s/ M.Petrik for_______
19                                                  RONALD JAMES PETERS
                                                    Attorney for Mr. Reyes
20
21
     DATED: May 22, 2014                            BENJAMIN B. WAGNER
22                                                  United States Attorney

23                                                  /s/ M.Petrik for_______
                                                    JASON HITT
24                                                  Assistant U.S. Attorney
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      Stipulation to Continue                         -2-                                           13-53 MCE
       Case 2:13-cr-00053-JAM Document 31 Filed 05/29/14 Page 3 of 3


1                                                   ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8              The Court orders the status conference rescheduled for June 19, 2014, at 9:00 a.m. The
9    Court orders the time from the date of this order, up to and including June 19, 2014, excluded
10   from computation of time within which the trial of this case must commence under the Speedy
11   Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12             IT IS SO ORDERED.
13   Dated: May 28, 2014
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      Stipulation to Continue                          -3-                                        13-53 MCE
